           Case 2:18-cv-00405-EJF Document 5 Filed 05/29/18 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF UTAH, CENTRAL DIVISION


COALITION FOR A SAFE AND HEALTHY
UTAH, a Utah non-profit corporation d/b/a
DRUG SAFE UTAH, BRUCE H.
WOOLEY, WALTER J. PLUMB, III,
ARTHUR BROWN, and BRUCE RIGBY,
                                                ORDER TO PROPOSE SCHEDULE
               Plaintiffs,
                                                Case No. 2:18-cv-00405-EJF
v.
                                                Magistrate Judge Evelyn J. Furse
SPENCER J. COX, in his official capacity
as Lieutenant Governor of Utah, and
CURTIS KOCH, the County Clerk of Davis
County, Utah, in his official capacity

               Defendants.




      To secure the just, speedy, and inexpensive determination of every action and

 proceeding and fulfill the purposes of Rules 16 and 26 of the Federal Rules of Civil

 Procedure,

 IT IS HEREBY ORDERED:

      1.      Plaintiffs must propose a schedule to defendants in the form of a draft

Attorney Planning Meeting Report within the earlier of fourteen (14) days after any

defendant has appeared or twenty-eight (28) days after any defendant has been served

with the complaint.

      2.      Within the earlier of twenty-eight (28) days after any defendant has

appeared or within forty-two (42) days after any defendant has been served with the



                                            1
           Case 2:18-cv-00405-EJF Document 5 Filed 05/29/18 Page 2 of 4



complaint (or such other time as the Court may order), the parties shall meet and

confer and do one of the following:

               a.    File a jointly signed Attorney Planning Meeting Report and also

                     email a stipulated Proposed Scheduling Order in word

                     processing format to ipt@utd.uscourts.gov; or

               b.    If the parties cannot agree on a Proposed Scheduling Order,

                     plaintiffs must file a jointly signed Attorney Planning Meeting

                     Report detailing the nature of the parties’ disputes and must also

                     file a stipulated Motion for Initial Scheduling Conference; or

               c.    If the parties fail to agree on an Attorney Planning Meeting

                     Report or on a stipulated Motion for Initial Scheduling

                     Conference, plaintiffs must file a Motion for Initial Scheduling

                     Conference, which must include a statement of plaintiffs’ position

                     as to the schedule. Any response to such a motion must be filed

                     within seven (7) days.

      3.      In the absence of filing a stipulated Proposed Scheduling Order, the

parties must be prepared to address the following questions, in addition to those

raised by the Attorney Planning Meeting Report:

              a.    What 2-3 core factual or legal issues are most likely to be

                    determinative of this dispute?

              b.    Who are the 1-3 most important witnesses each side needs to

                    depose? Is there any reason these witnesses cannot be deposed

                    promptly?



                                              2
            Case 2:18-cv-00405-EJF Document 5 Filed 05/29/18 Page 3 of 4



               c.     What information would be most helpful in evaluating the likelihood

                      of settlement? Is there any reason it cannot be obtained promptly?

               d.     In 5 minutes or less, describe the crucial facts, primary claims, and

                      primary defenses?

               e.     Are all claims for relief necessary or are they overlapping? Can any

                      claim for relief be eliminated to reduce discovery and expense?

               f.     Are all pleaded defenses truly applicable to this case? Can any be

                      eliminated?

               g.     What could be done at the outset to narrow and target the discovery

                      in the case?

               h.     What agreements have the parties reached regarding limitations on

                      discovery, including discovery of ESI?

               i.     Is there a need to schedule follow-up status conferences?

       4.      Each party shall make initial disclosures within forty-two (42) days

after the first answer is filed. This deadline is not dependent on the filing of an

Attorney Planning Meeting Report, the entry of a Scheduling Order, or the

completion of an Initial Scheduling Conference.

       5.      The parties are urged to propose a schedule providing for:

               a.     Fact discovery completion no more than six (6) months after the

                      filing of the first answer.

               b.     Expert reports from the party with the burden of proof on that issue

                      twenty-eight (28) days after the completion of fact discovery, and

                      responsive reports twenty-eight (28) days thereafter.


                                                3
     Case 2:18-cv-00405-EJF Document 5 Filed 05/29/18 Page 4 of 4



         c.    Expert discovery completion twenty-eight (28) days after filing of an

               expert’s report.

         d.    Dispositive motion filing deadline no more than ten (10)

               months after the filing of the first answer.

Signed this 29th day of May, 2018.

                                            BY THE COURT:


                                            ______________________________
                                            Honorable Evelyn J. Furse
                                            United States Magistrate Judge




                                       4
